Case 1:17-cv-04327-LLS-RWL Document 29-8 Filed 06/21/17 Page 1 of 2

FH I DEPARTMENT OF THE TREASURY
oo INTERNAL REVENUE SERVICE
4 : CINCINNATI OH 45999-0023

Date of this notice: 08-09-2011

Employer Identification Number:
87

Form: SS-~-4

Number of this notice: CP 575 A
COOPER SQUARE VENTURES
MICHAEL DARDASHTIAN MBR
10616 JAMAICA AVE For assistance you may call us at:
RICHMOND HILL, NY 11418 1-800-829-4933

IF YOU WRITE, ATTACH THE
STUB AT THE END OF THIS NOTICE.

WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

Thank you for applying for an Employer Identification Number (EIN). We assigned you
EIN XX-XXXXXXX. This EIN will identify you, your business accounts, tax returns, and
documents, even if you have no employees. Please keep this notice in your permanent
records.

When filing tax documents, payments, and related correspondence, it is very important
that you use your EIN and complete name and address exactly as shown above. Any variation
may cause a delay in processing, result in incorrect information in your account, or even

. cause you to be assigned more than one EIN. If the information is not correct as shown
above, please make the correction using the attached tear off stub and return it to us.

Based on the information received from you or your representative, you must file
the following form(s) by the date(s) shown.

Form 941 01/31/2012
Form 940 01/31/2012
Form 1065 04/15/2012

If you have questions about the form(s) or the due date(s) shown, you can call us at
the phone number or write to us at the address shown at the top of this notice. If you
need help in determining your annual accounting period (tax year), see Publication 538,
Accounting Periods and Methods.

We assigned you a tax classification based on information obtained from you or your
representative. It is not a legal determination of your tax classification, and is not
binding on the IRS. If you want a legal determination of your tax classification, you may
request a private letter ruling from the IRS under the guidelines in Revenue Procedure
2004-1, 2004-1 I.R.B. 1 (or superseding Revenue Procedure for the year at issue). Note:
Certain tax classification elections can be requested by filing Form 8832, Entity
Classification Election. See Form 8832 and its instructions for additional information.

A limited liability company (LLC) may file Form 8832, Entity Classification
Election, and elect to be classified as an association taxable as a corporation. If
the LLC is eligible to be treated as a corporation that meets certain tests and it
will be electing S corporation status, it must timely file Form 2553, Election by a
Small Business Corporation. The LLC will be treated as a corporation as of the
effective date of the S corporation election and does not need to file Form 8832.
Poa

peed

Case 1:17-cv-04327-LLS-RWL Document 29-8 Filed 06/21/17 Page 2 of 2

_ (IRS USE ONLY) S75A 08-09-2011 COOP B 9399999999 SS~4

If you are required to deposit for employment taxes (Forms 941, 943, 940, 944, 945,
CT-1, or 1042), excise taxes (Form 720), or income taxes (Form 1120), you will receive a
Welcome Package shortly, which includes instructions for making your deposits
electronically through the Electronic Federal Tax Payment System (EFTPS). A Personal
Identification Number (PIN) for EFTPS will also be sent to you under separate cover.
Please activate the PIN once you receive it, even if you have requested the services of a
tax professional or representative. For more information about EFTPS, refer to
Publication 966, Electronic Choices to Pay All Your Federal Taxes. If you need to
make a deposit immediately, you will need to make arrangements with your Financial
Institution to complete a wire transfer.

The IRS is committed to helping all taxpayers comply with their tax filing
obligations. If you need help completing your returns or meeting your tax obligations,
Authorized e-file Providers, such as Reporting Agents (payroll service providers) are
available to assist you. Visit the IRS Web site at www.irs.gov for a list of companies
that offer IRS e-file for business products and services. The list provides addresses,
telephone numbers, and links to their Web sites.

To obtain tax forms and publications, including those referenced in this notice,
visit our Web site at www.irs.gov. If you do not have access to the Internet, call
1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.

IMPORTANT REMINDERS :

* Keep a copy of this notice in your permanent records. This notice is issued only
one time and the IRS will not be able to generate a duplicate copy for you.

* Use this EIN and your name exactly as they appear at the top of this notice on all
your federal tax forms.

* Refer to this EIN on your tax-related correspondence and documents.
Tf you have questions about your EIN, you can call us at the phone number or write to
us at the address shown at the top of this notice. If you write, please tear off the stub

at the bottom of this notice and send it along with your letter. If you do not need to
write us, do not complete and return the stub. Thank you for your cooperation.

Keep this part for your records. cP 575 A (Rev. 7-2007)

Return this part with any correspondence
so we may identify your account. Please CP S75 A

correct any errors in your name or address.
9999999999

Your Telephone Number Best Time to Call DATE OF THIS NOTICE: 08-09-2011

 

( ) - EMPLOYER IDENTIFICATION NUMBER: @gggegss7
FORM: SS~4 NOBOD
INTERNAL REVENUE SERVICE COOPER SQUARE VENTURES
CINCINNATI OH 45999-0023 MICHAEL DARDASHTIAN MBR

FebasbaDsdadaLesEsDastebeaElselDssrslalasdfslabisl 10616 JAMAICA AVE
RICHMOND HILL, NY 11418
